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 4
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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                           CASE No: 1:16-cr-00069-NONE
12                      Plaintiff,
                                                          Motion to File Exhibit 4
13                                                        Medical Records
      WILLIAM LEE,                                        Under Seal and Order
14

15                      Defendant.
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17
        Counsel requests to file Exhibit 4, medical records of William Lee, under seal. The records
18
     contain personal information.
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22   Dated: August 19, 2020                               Respectfully submitted,

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                                                       s/s Barbara Hope O’Neill
24                                                      Barbara Hope O’Neill
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     Case 1:16-cr-00069-AWI-SKO Document 887 Filed 08/21/20 Page 2 of 2


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                                                 ORDER
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 4          Having received and reviewed the request to seal Exhibit 4 to the Motion for
 5   Compassionate Release filed by defendant (Doc. No. 885), the court finds good cause for the
 6   sealing of that exhibit and therefore GRANTS the request.
 7   IT IS SO ORDERED.
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        Dated:    August 20, 2020
 9                                                   UNITED STATES DISTRICT JUDGE
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